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                                                                                          2020 Jan-29 PM 05:22
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA


ROY S. MOORE

                                                             Case No: 4:20-cv-00124
                 Plaintiff,
v.

TIANA LOWE, et al

                  Defendants.




                      MOTION TO BE ADMITTED PRO HAC VICE

       Plaintiff Roy Moore (“Judge Moore”), through the undersigned counsel, Melissa L. Isaak,

hereby moves for the admission of Larry Klayman, Esq. pro hac vice. This motion is based on the

affidavit of Larry Klayman below and attachments thereto.

Dated: January 28, 2020                            Respectfully Submitted,



                                                     /s/ Melissa L. Isaak
                                                   Melissa L. Isaak (ASB 4872 A 59I)
                                                   melissa@protectingmen.com
                                                   The Isaak Law Firm
                                                   PO Box 4894
                                                   Montgomery, AL 36104
                                                   (334) 262-8200
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                            AFFIDAVIT OF LARRY KLAYMAN

       1.      I, Larry Klayman, hereby being sworn deposes and says that the following is true

and correct and based on my personal knowledge and belief.

       2.      I am over the age of 18 and mentally and legally competent to make this affidavit,

sworn under oath.

       3.      My residence address for security purposes is 7050 W. Palmetto Park Rd. #15-

287, Boca Raton, FL, 33433.

       4.      My office address is 7050 W. Palmetto Park Rd. #15-287, Boca Raton, FL,

33433. My telephone number is 561-558-5336. My email address is leklayman@gmail.com. My

facsimile number is 202-318-8839.

       5.      I have been admitted to practice before the following courts, as of the following

dates. Certificates of Good Standing for The Florida Bar and the District of Columbia Bar are

also attached hereto.

       U.S. Supreme Court 4/25/88

       U.S. Court of Appeals for the District of Columbia 4/22/88

       U.S. Court of Appeals for the Ninth Circuit 1/22/00

       U.S. District Court for the N. Dist. of TX 8/9/02

       U.S. District Court for the S. Dist. of FL 12/29/77

       The Florida Bar 12/7/77

       The District of Columbia Bar 12/22/80

       The Pennsylvania Bar 1/6/1989

       6.      I am a member in good standing of each of the foregoing courts, except for The

Pennsylvania Bar, which I allowed to lapse due to not having completed CLE courses. I am on
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administrative suspension and am eligible for reinstatement, should I wish to practice in

Pennsylvania.

       7.        Melissa Isaak, Esq. will serve as local counsel in this matter, should I be admitted

pro hac vice.

       8.        I have been admitted pro hac vice in the Northern District for the State of

Alabama to represent Judge Moore in a related matter currently before Judge Corey L. Maze,

Moore v. Cecil (4:19-cv-01855), on December 19, 2019, with Melissa Isaak, Esq. serving as

local counsel.

       I hereby swear under oath and penalty of perjury that the foregoing facts are true and

correct to the best of my knowledge and belief.

       Executed on January 28, 2020.

                                                       _/s/ Larry Klayman__________
                                                       Larry Klayman
